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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                       CIVIL MINUTES – GENERAL

  Case No.:       SACV 11-00485-AG (RAOx)                            Date:    January 22, 2018
  Title:          Lisa Liberi et al. v. Orly Taitz et al.



  Present:           The Honorable ROZELLA A. OLIVER, U.S. MAGISTRATE JUDGE

             Donnamarie Luengo, Relief                                CS 1/22/2018
                  Deputy Clerk                                  Court Reporter / Recorder

       Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):

                     Jose Lorenzo                                     Kim Schumann
                                                                    Jeffrey Cunningham

  Proceedings:               MINUTE ORDER RE: SETTLEMENT CONFERENCE

         On January 22, 2018, the parties and their counsel appeared for a settlement conference,
  but were unable to reach a settlement.

  IT IS SO ORDERED.

                                                                                         5     :    30
                                                                Initials of Preparer           dl




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